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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                                   No. 15-68

JORGE PERRALTA, ET AL.                                                                SECTION I


                                   ORDER AND REASONS

       Before the Court is a motion 1 in limine filed by defendant, Jorge Perralta (“Perralta”), to

“preclude the government from introducing evidence regarding an alleged co-conspirators [sic]

criminal acts which are extrinsic to the criminal conspiracy alleged against Mr. Perralta.”

Perralta’s argument, in short, is that the second superseding indictment is duplicitous because it

charges multiple conspiracies in a single count. Perralta contends that instead of a single

overarching conspiracy to distribute and possess with the intent to distribute certain quantities of

cocaine hydrochloride and heroin, “there is the potential” that the government’s evidence will

establish that there were multiple, independent conspiracies involving different defendants and

different controlled substances. 2 Perralta argues that, if this is the case, the introduction of

evidence regarding the alleged members of the other conspiracy in a trial of Perralta “would violate

Federal Rules of Evidence 403 and 404(b).” 3

       The government has filed an opposition 4 to Perralta’s motion arguing that he is incorrect

for two reasons. First, according to the government, Perralta “errs in asserting that there are, in


1
  R. Doc. No. 98.
2
  R. Doc. No. 154-1, at 1.
3
  R. Doc. No. 154, at 1. As the government notes in its opposition, R. Doc. No. 165, at 6, Perralta
does not seek a severance of his trial. He only seeks the exclusion of the evidence described above.
4
  R. Doc. No. 165.
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fact, two conspiracies at issue in this case.” 5 Second, the government asserts that “[e]ven if there

were two conspiracies, evidence relevant only to the defendants involved in the cocaine conspiracy

would nevertheless be admissible against those defendants in a joint trial, and any prejudice to

Perralta from this evidentiary ‘spillover’ would be eliminated with a proper limiting instruction

from the Court.” 6

          For the following reasons, the Court agrees with the government that Perralta’s motion

should be denied. The Court assumes familiarity with the factual background and procedural

posture of the case.

                                      LAW AND ANALYSIS

          Perralta’s argument for the exclusion of certain evidence is premised on the existence of

two conspiracies instead of one. But “[t]he question whether the evidence establishes the existence

of one conspiracy (as alleged in the [second superseding] indictment) or multiple conspiracies is a

fact question within the jury’s province.” United States v. Mitchell, 484 F.3d 762, 769 (5th Cir.

2007). While this Court has the power to acquit a defendant after a guilty verdict when no rational

jury could have found the essential elements of the offense beyond a reasonable doubt, United

States v. Alarcon, 261 F.3d 416, 421 (5th Cir. 2001), this Court cannot determine before trial and

without an evidentiary record what a rational jury could or could not find. See also Fed. R. Crim.

P. 12(b)(1) (“A party may raise by pretrial motion any defense, objection, or request that the court

can determine without a trial on the merits.”).




5
    R. Doc. No. 165, at 2.
6
    R. Doc. No. 165, at 2.


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       Simply put, “[t]here is no federal criminal procedural mechanism that resembles a motion

for summary judgment in the civil context.” 7 See United States v. Yakou, 428 F.3d 241, 246 (D.C.

Cir. 2005); United States v. Mann, 517 F.2d 259, 267 (5th Cir. 1975) (“A defendant may not

properly challenge an indictment, sufficient on its face, on the ground that the allegations are not

supported by adequate evidence, for an indictment returned by a legally constituted and unbiased

grand jury, if valid on its face, is enough to call for trial of the charge on the merits.”). The Court,

therefore, cannot determine whether Perralta was a member of only a heroin conspiracy, a heroin

and cocaine conspiracy, or neither conspiracy.

       Accordingly, the question before the Court is whether the evidence to which Perralta

objects is relevant to the offense the government alleges Perralta committed. The government

alleges in count one of the second superseding indictment that Perralta and his co-defendants

conspired with each other and with others unknown to distribute and possess with the intent to

distribute five kilograms or more of cocaine and one kilogram or more of heroin. “Once a

defendant has been connected with the conspiracy through his own conduct, all acts and statements

of his co-conspirators during the pendency and in furtherance of the conspiracy are admissible

against him.” United States v. Jennings, 527 F.2d 862, 869 (5th Cir. 1976). While the Court defers

specific evidentiary rulings until such time as they are raised at trial, it is clear that the Court

cannot, at this time, exclude evidence—including acts or statements of Perralta’s co-




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  Indeed, the U.S. Fifth Circuit Court of Appeals has explained that “[a] material variance occurs
when the proof at trial depicts a scenario that differs materially from the scenario charged in the
indictment but does not modify an essential element of the charged offense.” United States v.
Rodriguez, 553 F.3d 380, 392 (5th Cir. 2008) (internal quotations and citation omitted) (emphasis
added).


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conspirators—simply based on Perralta’s belief that the evidence at trial will not support a

common conspiracy with those co-conspirators.

       The Court further notes that even if Perralta is ultimately correct and the evidence at trial

establishes the existence of two conspiracies instead of one, Perralta may nevertheless be unable

to successfully assert a material variance claim. The Fifth Circuit has held that “[w]hen the

indictment alleges the conspiracy count as a single conspiracy, but the government proves multiple

conspiracies and a defendant’s involvement in at least one of them, then clearly there is no variance

affecting that defendant’s substantial rights.” United States v. Medina, 161 F.3d 867, 872 (5th Cir.

1998) (internal quotations and citation omitted).

                                         CONCLUSION

       For the foregoing reasons,

       IT IS ORDERED that Perralta’s motion is DENIED.



       New Orleans, Louisiana, January 21, 2016.



                                                    _______________________________________
                                                              LANCE M. AFRICK
                                                       UNITED STATES DISTRICT JUDGE




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